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JURY FOREPERSON

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

KURIAN DAVID, et al.
Plaintiffs

VERSUS
SIGNAL INTERNATIONAL, LLC, et al.,

Defendants

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,
Plaintiff

VERSUS

SIGNAL INTERNATIONAL, LLC, et al.,
Defendants

LAKSHMANAN PONNAYAN ACHARI, et al.,

Plaintiffs

VERSUS

SIGNAL INTERNATIONAL, LLC, et al.,
Defendants

Applies To:
David v. Signal
(No. 08-1220)

CIVIL ACTION

No. 08-1220

SECTION “E”

CIVIL ACTION

No. 12-557

SECTION "E"

CIVIL ACTION

No. 13-6218

(c/w 13-6219, 13-6220,
13-6221, 14-732, 14-
1818)

SECTION "E"
. Case 2:08-cv-01220-SM-DEK Document 2268-2 Filed 02/12/15 Page 2 of 83

JURY VERDICT FORM-—STAGE1
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PLAINTIFFS' CLAIMS
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CLAIM ONE: All Plaintiffs against Signal, Burnett, and Dewan
Trafficking Victims Protection Act—Signal
A. Forced Labor

i. Do you find from a preponderance of the evidence that Signal knowingly obtained any
Plaintiff's labor by threatening serious harm to him or another person?

 

 

Sony Sulekha YES ONO
Jacob Joseph Kadakkarappally YES + _Nno
Palanyandi Thangamani YES we NO
Andrews Padavettiyil YES +" NO
Hemant Khuttan YES No

 

2. Do you find from a preponderance of the evidence that Signal knowingly obtained any
Plaintiff's labor by means of a scheme, plan, or pattern intended to cause him to believe
that, if he did not perform work at Signal, then he or another person would suffer

 

serious harm?

Sony Sulekha YES &"_ NO
Jacob Joseph Kadakkarappally YES i." NO
Palanyandi Thangamani YES bo NO.
Andrews Padavettiyil YES i" NO
Hemant Khuttan YES_i- NO

3. Do you find from a preponderance of the evidence that Signal knowingly obtained any
Plaintiff's labor by means of the abuse or threatened abuse of law or the legal process?

 

Sony Sulekha YES + NO
Jacob Joseph Kadakkarappally YES_‘*~ NO

Palanyandi Thangamani YES _--" NOL
Andrews Padavettiyil YES “No
Hemant Khuttan YES “No.
 

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4. Do you find from a preponderance of the evidence that any Plaintiff(s) for whom you
answered "Yes" for Questions 1, 2, or 3 was damaged by Signal as a result of forced
labor?

 

 

Sony Sulekha YES 4 _NO
Jacob Joseph Kadakkarappally YES i NO
Palanyandi Thangamani YES _+~~_NO
Andrews Padavettiyil YES 3474 NO
Hemant Khuttan YES_i-* NO

Please proceed to Section B.
B. Trafficking For Forced Labor

1. Do you find from a preponderance of the evidence that Signal recruited, transported,
provided, or obtained, by any means, any Plaintiff for labor or services?

Sony Sulekha YES _|.-“_NO

Jacob Joseph Kadakkarappally YES _,- NO

 

 

Palanyandi Thangamani YES _i-* NO
Andrews Padavettiyil YES_*~_NO
Hemant Khuttan YES _*_NO

 

If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 2 for that Plaintiffs). If you have answered "No" with respect to all
Plaintiffs, please proceed to the next Defendant on page 7.

2, Do you find from a preponderance of the evidence that Signal acted with the
knowledge that any of the Plaintiffs would be subjected to forced labor?

 

 

 

 

Sony Sulekha YES — yo
Jacob Joseph Kadakkarappally YES o NO
Palanyandi Thangamani YES a NO_
Andrews Padavettiyil YES NO
Hemant Khuttan YES “ NO

 
 

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If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 3 for that Plaintiff(s). If you have answered "No" with respect to all
Plaintiffs, please proceed to the next Defendant on page 7.

3. Do you find from a preponderance of the evidence that any Plaintiff(s) was damaged
by Signal as a result of trafficking for forced labor?

Sony Sulekha YES L NO
Jacob Joseph Kadakkarappally YES “NO

Palanyandi Thangamani YES _j-~~ NO
Andrews Padavettiyil YES we NO
Hemant Khuttan YES Le NO

Please proceed to the next Defendant on page 7.
 

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Trafficking Victims Protection Act—Malvern C. Burnett ("Burnett")
A. Forced Labor

1. Do you find from a preponderance of the evidence that Burnett knowingly obtained
any Plaintiffs labor by threatening serious harm to him or another person?

Sony Sulekha YES a NO

 

Jacob Joseph Kadakkarappally YES_ 4 NO

Palanyandi Thangamani YES _i-— NO

Andrews Padavettiyil YES_+~_NO
a

Hemant Khuttan YES_‘*”__NO

2. Do you find from a preponderance of the evidence that Burnett knowingly obtained
any Plaintiff's labor by means of a scheme, plan, or pattern intended to cause him to
believe that, if he did not perform work at Signal, then he or another person would
suffer serious harm?

Sony Sulekha yes !“ No
Jacob Joseph Kadakkarappally YES _4~ NO

Palanyandi Thangamani YES _-" NO
Andrews Padavettiyil YES_+“ NO
Hemant Khuttan YES _-“_NO

3. Do you find from a preponderance of the evidence that Burnett knowingly obtained
any Plaintiffs labor by means of the abuse or threatened abuse of law or the legal
process?

 

Sony Sulekha YES -~ no

Jacob Joseph Kadakkarappally YES a NO
Palanyandi Thangamani YES i no
Andrews Padavettiyil YES No
Hemant Khnitan YES 177 NO_
 

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4. Do you find from a preponderance of the evidence that any Plaintiff(s) for whom you
answered "Yes" for Questions 1, 2, or 3 was damaged by Burnett as a result of forced

labor?

Sony Sulekha

Jacob Joseph Kadakkarappally
Palanyandi Thangamani
Andrews Padavettiyil

Hemant Khuttan

Please proceed to Section B.

YES ~~ _NO

YES _j“_NO
YES i NO
YES 4“ _NO

YES |“ NO

 

 

B. Trafficking For Forced Labor

1. Do you find from a preponderance of the evidence that Burnett recruited, transported,
provided, or obtained, by any means, any Plaintiff for labor or services?

Sony Sulekha

Jacob Joseph Kadakkarappally
Palanyandi Thangamani
Andrews Padavettiyil

Hemant Khuttan

YES ~~“ NO
YES .“ NO
YES_'* NO
YES_~ NO

 

YES i NO

 

If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 2 for that Plaintiff(s). If you have answered “No” with respect to all
Plaintiffs, please proceed to the next Defendant on page 10.

2. Do you find from a preponderance of the evidence that Burnett acted with the
knowledge that any of the Plaintiffs would be subjected to forced labor?

Sony Sulekha

Jacob Joseph Kadakkarappally
Palanyandi Thangamani
Andrews Padavettiyil

Hemant Khuttan

YES i NO

YES _L-” NO
YES_-“ NO

 

YES _-~ NO
: A
YES_“ NO
+

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If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 3 for that Plaintiff(s). If you have answered "No" with respect to all
Plaintiffs, please proceed to the next Defendant on page 10.

3. Do you find from a preponderance of the evidence that any Plaintiff(s) was damaged
by Burnett as a result of trafficking for forced labor?

Sony Sulekha YES_«&~_NO

Jacob Joseph Kadakkarappally YES_ ~~ NO

Palanyandi Thangamani YES __+“_NO
Andrews Padavettiyil YES__+~_NO
Hemant Khuttan YES Ll) NO

Please proceed to the next Defendant on page 10.
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Trafficking Victims Protection Act—Law Offices of Malvern C. Burnett, APC
("Burnett Law Offices")

A. Forced Labor

1, Do you find from a preponderance of the evidence that Burnett Law Offices knowingly
obtained any Plaintiff's labor by threatening serious harm to him or another person?

 

Sony Sulekha YES _(.“ NO

Jacob Joseph Kadakkarappally YES eT" NO
Palanyandi Thangamani YES *“~ NO
Andrews Padavettiyil YES _ “NO,
Hemant Khuttan YES —1i"NO

2. Do you find from a preponderance of the evidence that Burnett Law Offices knowingly
obtained any Plaintiff's labor by means of a scheme, plan, or pattern intended to cause
him to believe that, if he did not perform work at Signal, then he or another person
would suffer serious harm?

Sony Sulekha YES _i-~_NO

 

 

Jacob Joseph Kadakkarappally YES _.~~ NO

 

Palanyandi Thangamani YES _i.-——~ NO
Andrews Padavettiyil YES _«~_NO
Hemant Khuttan YES __t--" NO

3. Do you find from a preponderance of the evidence that Burnett Law Offices knowingly
obtained any Plaintiff's labor by means of the abuse or threatened abuse of law or the
legal process?

ve

 

 

Sony Sulekha YES + NO
Jacob Joseph Kadakkarappally YES _-"_NO
Palanyandi Thangamani YES 1s NO_
Andrews Padavettiyil YES a NO
Hemant Khuttan YES a NO

 

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4. Do you find from a preponderance of the evidence that any Plaintiff(s) for whom you
answered "Yes" for Questions 1, 2, or 3 was damaged by Burnett Law Offices as a

result of forced labor?
YES _ |“ _ NO

YES _ “NO

Sony Sulekha

Jacob Joseph Kadakkarappally

 

Palanyandi Thangamani YES _¥.~ NO
Andrews Padavettiyil YES _i-~_ NO
Hemant Khuttan YES 4." NO

Please proceed to Section B.
B. Trafficking For Forced Labor

1. Do you find from a preponderance of the evidence that Burnett Law Offices recruited,
transported, provided, or obtained, by any means, any Plaintiff for labor or services?

 

 

Sony Sulekha YES i NO
Jacob Joseph Kadakkarappally YES__~“_NO
Palanyandi Thangamani YES __-” NO
Andrews Padavettiyil YES _« NO
Hemant Khuttan YES t+-"NO

If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 2 for that Plaintiff(s). If you have answered "No" with respect to all
Plaintiffs, please proceed to the next Defendant on page 13.

2. Do you find from a preponderance of the evidence that Burnett Law Offices acted with
the knowledge that any of the Plaintiffs would be subjected to forced labor?

 

 

Sony Sulekha YES ,-” NO_
Jacob Joseph Kadakkarappally YES i” _ NO
Palanyandi Thangamani YES an NO
Andrews Padavettiyil YES it no
Hemant Khuttan YES_«< “ NO

 
 

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If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 3 for that Plaintiff(s). If you have answered "No" with respect to all
Plaintiffs, please proceed to the next Defendant on page 13.

3. Do you find from a preponderance of the evidence that any Plaintiff(s) was damaged
by Burnett Law Offices as a result of trafficking for forced labor?

 

 

 

Sony Sulekha YES _u-” NO
Jacob Joseph Kadakkarappally YES “NO
Palanyandi Thangamani YES aan NO
Andrews Padavettiyil YES es NO
Hemant Khuttan YES i-“NO

Please proceed to the next Defendant on page 13.

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Trafficking Victims Protection Act — Sachin Dewan ("Dewan")

A. Forced Labor

1. Do you find from a preponderance of the evidence that Dewan knowingly obtained
any Plaintiffs labor by threatening serious harm to him or another person?

Sony Sulekha YES ~~ NO
Jacob Joseph Kadakkarappally YES an NO
Palanyandi Thangamani YES “No
Andrews Padavettiyil YES _ "NO.
Hemant Khuttan YES 7 NO.

2. Do you find from a preponderance of the evidence that Dewan knowingly obtained
any Plaintiff's labor by means of a scheme, plan, or pattern intended to cause him to
believe that, if he did not perform work at Signal, then he or another person would

suffer serious harm?

Sony Sulekha

Jacob Joseph Kadakkarappally
Palanyandi Thangamani
Andrews Padavettiyil

Hemant Khuttan

YES _,.-“ NO

YES _u“"_ NO

 

"NO

a
YES_*_ NO

YES

 

 

 

YES _&“" NO

 

3. Do you find from a preponderance of the evidence that Dewan knowingly obtained
any Plaintiffs labor by means of the abuse or threatened abuse of law or the legal

process?

Sony Sulekha

Jacob Joseph Kadakkarappally
Palanyandi Thangamani
Andrews Padavettiyil

Hemant Khuttan

YES va tb" NOW

YES i” NO.

“
aed

YES _ “NO

 

 

YES "NO

YES ‘~~ +" NO

 
 

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4. Do you find from a preponderance of the evidence that any Plaintiffs) for whom you
answered "Yes" for Questions 1, 2, or 3 was damaged by Dewan as a result of forced
labor?

Sony Sulekha YES a No
Jacob Joseph Kadakkarappally YES a NO_
Palanyandi Thangamani YES i No,
Andrews Padavettiyil YES i No
Hemant Khuttan YES "NO

Please proceed to Section B.
B. Trafficking For Forced Labor

1. Do you find from a preponderance of the evidence that Dewan recruited, transported,
provided, or obtained, by any means, any Plaintiff for labor or services?
“

Sony Sulekha YES “NO

Jacob Joseph Kadakkarappally YES pe NO

 

 

 

Palanyandi Thangamani YES _*“~_NO
Andrews Padavettiyil YES_+~~_NO
Hemant Khuttan YES +" NO

 

If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 2 for that Plaintiff(s). If you have answered "No" with respect to all
Plaintiffs, please proceed to the next Defendant on page 16.

2. Do you find from a preponderance of the evidence that Dewan acted with the
knowledge that any of the Plaintiffs would be subjected to forced labor?

 

 

 

 

Sony Sulekha YES_“__NO
Jacob Joseph Kadakkarappally YES No
Palanyandi Thangamani YES i” NO
Andrews Padavettiyil YES a NO
Hemant Khuttan YES i NO

 

 

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If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 3 for that Plaintiff(s). If you have answered "No" with respect to all
Plaintiffs, please proceed to the next Defendant on page 16.

3. Do you find from a preponderance of the evidence that any Plaintiff(s) was damaged
by Dewan as a result of trafficking for forced labor?

Sony Sulekha YES a NO
Jacob Joseph Kadakkarappally YES NO

Palanyandi Thangamani YES 4.” NO
Andrews Padavettiyil YES _--" NO
Hemant Khuttan YES _ 4-7" NO

 

Please proceed to the next Defendant on page 16.

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Trafficking Victims Protection Act — Dewan Consultants Pvt. Ltd. (a/k/a
Medtech Consultants) (“Dewan Consultants”)

A. Forced Labor

1. Do you find from a preponderance of the evidence that Dewan Consultants knowingly
obtained any Plaintiffs labor by threatening serious harm to him or another person?

 

Sony Sulekha YES a NO__
Jacob Joseph Kadakkarappally YES an NO
Palanyandi Thangamani YES ee NO
Andrews Padavettiyil YES _p-” NO
Hemant Khuttan YES aia NO

2. Do you find from a preponderance of the evidence that Dewan Consultants knowingly
obtained any Plaintiff's labor by means of a scheme, plan, or pattern intended to cause
him to believe that, if he did not perform work at Signal, then he or another person
would suffer serious harm?

: a
Sony Sulekha YES “NO
Jacob Joseph Kadakkarappally YES _ +7” “NO
Palanyandi Thangamani YES _*_NO
Andrews Padavettiyil YES _.- NO
Hemant Khuttan YES _+“~_NO

 

3. Do you find from a preponderance of the evidence that Dewan Consultants knowingly
obtained any Plaintiff's labor by means of the abuse or threatened abuse of law or the
legal process?

 

Sony Sulekha YES ia NO
Jacob Joseph Kadakkarappally YES aan NO
Palanyandi Thangamani YES a NO_
Andrews Padavettiyil YES a NO
Hemant Khuttan YES i NO

 

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4. Do you find from a preponderance of the evidence that any Plaintiff(s) for whom you
answered "Yes" for Questions 1, 2, or 3 was damaged by Dewan Consultants as a
result of forced labor?

 

Sony Sulekha YES i“. NO.
Jacob Joseph Kadakkarappally YES yo
Palanyandi Thangamani YES 7 NO
Andrews Padavettiyil YES “NO
Hemant Khuttan YES i No

 

Please proceed to Section B.
B. Trafficking For Forced Labor

1. Do you find from a preponderance of the evidence that Dewan Consultants recruited,
transported, provided, or obtained, by any means, any Plaintiff for labor or services?

 

 

Sony Sulekha YES 4 No
Jacob Joseph Kadakkarappally YES _,4_NO
Palanyandi Thangamani YES aa NO.
Andrews Padavettiyil YES a, NO
Hemant Khuttan YES A No

If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 2 for that Plaintiff(s). If you have answered "No" with respect to all
Plaintiffs, please proceed to CLAIM TWO on page 19.

2. Do you find from a preponderance of the evidence that Dewan Consultants acted with
the knowledge that any of the Plaintiffs would be subjected to forced labor?

 

 

Sony Sulekha YES _&~ NO
Jacob Joseph Kadakkarappally YES an NO
Palanyandi Thangamani YES _&“_NO
en
Andrews Padavettiyil YES_*"__NO
ue
Hemant Khuttan YES NO

 

 

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If you have answered “Yes” with respect to any Plaintiff(s), please proceed to
Question 3 for that Plaintiff(s). If you have answered "No" with respect to all
Plaintiffs, please proceed to CLAIM TWO on page 19.

3. Do you find from a preponderance of the evidence that any Plaintiff(s) was damaged
by Dewan Consultants as a result of trafficking for forced labor?

 

 

 

 

Sony Sulekha YES_,- NO
Jacob Joseph Kadakkarappally YES "NO
Palanyandi Thangamani YES “NO
Andrews Padavettiyil YES 7 No
Hemant Khuttan YES -—"No

 

PLEASE PROCEED TO CLAIM TWO ON PAGE 19.

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CLAIM TWO: All Plaintiffs against Signal
A. Discriminatory Terms and Conditions of Employment
1. Have Plaintiff(s) proven by a preponderance of the evidence that Signal required them

to live in the man camp and/or deducted fees from Plaintiffs’ wages for the man camp
accommodations?

 

 

 

Sony Sulekha YES j.“ NO

Jacob Joseph Kadakkarappally YES “NO
a

Palanyandi Thangamani YES NO
. a

Andrews Padavettiyil YES NO

Hemant Khuttan YES _ 1" NO

If you have answered “Yes” for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No” for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

2, Have Plaintiff(s) proven by a preponderance of the evidence that their being Indian or
H-2B visa holders was a motivating factor in Signal's decision to require them to live in
the man camp and/or deduct fees from Plaintiffs’ wages for the man camp
accommodations?

 

Sony Sulekha YES Lo NO

Jacob Joseph Kadakkarappaily YES u~” NO

 

 

o

 

 

Palanyandi Thangamani YES an NO
Andrews Padavettiyil YES_*”_NO
Hemant Khuttan YES +“ NO

 

If you have answered “Yes” for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No” for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

3. Has Signal proven by a preponderance of the evidence that it would have made the
same decision to require Plaintiff(s) to live in the Signal man camp or deduct fees for
man camp accommodations from Plaintiffs’ pay even if it had not considered the fact
that Plaintiff(s) are Indian or H-2B visa holders?

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Sony Sulekha YES NO v
Jacob Joseph Kadakkarappally YES _NO_i
Palanyandi Thangamani YES. NO i” __
Andrews Padavettiyil YES NO_b-_
Hemant Khuttan YES NO _-

If you have answered "Yes" for any Plaintiff(s), please proceed to Section B. If you
have answered "No" for any Plaintiff(s), please proceed to Question 4 for that

Plaintiff(s)

4. Have Plaintiff(s) proven by a preponderance of the evidence that they were damaged
by Signal's discriminatory terms and conditions of employment?

 

Sony Sulekha YES _ i” NO
Jacob Joseph Kadakkarappally YES NO
Palanyandi Thangamani YES _+" NO
Andrews Padavettiyil YES _t-“ NO
Hemant Khuttan yES “NO

Please proceed to Section B.
B. Harassing Living Conditions

1. Have Plaintiff(s) proven by a preponderance of the evidence that all or some of them
were subject to unwelcome harassment?

Sony Sulekha YES _L-~ NO
Jacob Joseph Kadakkarappally YES _t | “NO

 

a

Palanyandi Thangamani YES _'"__ NO
Andrews Padavettiyil YES _t-~ ENO
Hemant Khuttan yES 47 aa ae

If you have answered “Yes” for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No” for any Plaintiff(s), please proceed to
CLAIM THREE for that Plaintiff(s) on page 23.

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2. Have Plaintiff(s) proven by a preponderance of the evidence that the harassment
complained of was based on their race, ethnicity, ancestry, or status as H-2B Visa
holders?

 

 

a
Sony Sulekha YES _-* NO
Jacob Joseph Kadakkarappally YES_ .-—~ NO

eee
Palanyandi Thangamani YES NO
Andrews Padavettiyil YES_*~ NO
Hemant Khuttan YES “NO

 

If you have answered “Yes” for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No” for any Plaintiff(s), please proceed to
CLAIM THREE for that Plaintiff(s) on page 23.

3. Have Plaintiff(s) proven by a preponderance of the evidence that the harassment
complained of affected a term, condition, or privilege of employment?

Sony Sulekha YES .-~ NO
Jacob Joseph Kadakkarappally YES_i#-—~ NO
Palanyandi Thangamani YES_4-“ NO.
Andrews Padavettiyil YES i- NO
Hemant Khuttan YES_*“ NO

If you have answered “Yes” for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No” for any Plaintiff(s), please proceed to
CLAIM THREE for that Plaintiff(s) on page 23.

4. Have Plaintiff(s) proven by a preponderance of the evidence that they were damaged
by the harassing living conditions at the Signal man camp?

 

 

Sony Sulekha YES NO
Jacob Joseph Kadakkarappally YES bs: NO__
Palanyandi Thangamani YES _t“no
Andrews Padavettiyil YES ‘No
Hemant Khuttan YES un NO

 
 

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PLEASE PROCEED TO CLAIM THREE ON PAGE 293.

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CLAIM THREE: Plaintiff Jacob Joseph Kadakkarappally ("Mr. Jacob")
against Signal

Retaliation

1. Do you find from a preponderance of the evidence that Mr. Jacob engaged in
protected activity? ,

YES | ‘No

If you have answered “Yes," please proceed to Question 2. If you have answered
No,” please proceed to CLAIM FOUR on page 24.

 

2. Do you find from a preponderance of the evidence that Signal terminated the
employment of Mr. Jacob?

“

YES i NO

If you have answered “Yes," please proceed to Question 3. If you have answered
"No,” please proceed to CLAIM FOUR on page 24.

3. Do you find from a preponderance of the evidence that Signal would not have
terminated Mr. Jacob but for his engaging in protected activity?

YES _»" NO

If you have answered “Yes," please proceed to Question 4. If you have answered
"No,” please proceed tao CLAIM FOUR on page 24.

 

4. Do you find from a preponderance of the evidence that Mr. Jacob was damaged by
Signal's unlawful retaliation?

YES i NO

PLEASE PROCEED TO CLAIM FOUR ON PAGE 24.

23
 

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CLAIM FOUR: All Plaintiffs against Signal, Burnett, and Dewan

RICO — All Defendants

1. Do you find from a preponderance of the evidence that the following enterprises
existed?

 

RICO Enterprise I: YES_-~ NO
RICO Enterprise II: YES _--_NO
RICO Enterprise III: YES_'~""NO

If you have answered "Yes" to any of the questions in Question 1, please proceed to
Question 2. If you have answered "No" to all of the questions in Question 1, please
proceed to CLAIM FIVE on page 45.

2, Do you find from a preponderance of the evidence that the following enterprises
engaged in, or had some effect on, interstate or foreign commerce?

ee

 

 

RICO Enterprise I: YES _‘*" NO
RICO Enterprise II: YES _t~ NO
RICO Enterprise III: YES_+~~ NO

If you have answered "Yes" to any of the questions in Question 2, please proceed to
the Defendant-specific questions beginning on page 25. If you have answered "No" to
all of the questions in Question 2, please proceed to CLAIM FIVE on page 45.

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7.

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A. RICO GENERAL CLAIM—SIGNAL

3. Do you find from a preponderance of the evidence that Signal was employed by or
associated with any of the Enterprises for which you answered "Yes" in response to
Question 2 on page 24?

YES__, NO

If you answered "Yes,” please proceed to Question 4. If you answered "No," please
proceed to Section B on page 27.

 

4. Do you find from a preponderance of the evidence that Signal participated, either
directly or indirectly, in the conduct of the affairs of any of the Enterprises for which you
answered "Yes" in response to Question 2 on page 24?

a!
YES +" NO

If you answered "Yes,” please proceed to Question 5. If you answered "No," please
proceed to Section B on page 27.

5. Do you find from a preponderance of the evidence that Signal participated through a
pattern of racketeering activity? To answer this question, please answer the following
two subquestions:
50). Predicate Acts
a. Forced Labor
1. Did Signal commit at least one act of forced labor?
YES _ u.-——"_ NO
2. Did Signal commit more than one act of forced labor?
YES i. NO
b. Trafficking For Forced Labor
1. Did Signal commit at least one act of trafficking for forced labor?
YES__}“ NO

2. Did Signal commit more than one act of trafficking for forced
labor?

YES i NO

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c. Mail Fraud
1. Did Signal commit at least one act of mail fraud?
YES_L“ NO
2. Did Signal commit more than one act of mail fraud?
YES_&~ NO

d. Wire Fraud
1. Did Signal commit at least one act of wire fraud?
YES ‘~~ NO
2.Did Signal commit more than one act of wire fraud?
YES__'<~__ NO

e. Immigration Document Fraud

1. Did Signal commit at least one act of immigration document

fraud?
YES ~~ NO

2, Did Signal commit more than one act of immigration document
fraud?

YES_ [-"__ NO

If you have found that Signal committed at least two of any of the predicate acts
(combining any two of the predicate acts from questions a(1) -e(1)), or if you answered
YES to any of questions a(2)-(e)(2), please proceed to Subquestion §(ii). If not,
please proceed to Section B on page 27.

5(ii). Predicate Acts Committed as Part of a Pattern
Did the predicate acts committed by Signal form a pattern by having the same or similar
purposes, results, participants, victims, or methods of commission, or were otherwise
interrelated?

YES i” NO

If you have answered "Yes,” please proceed to Question 6. If you have answered
"No," please proceed to Section B on page 27.

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6. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Signal's general RICO violation?

Sony Sulekha YES _&~"_NO
Jacob Joseph Kadakkarappally YES_+-~ NO

 

Palanyandi Thangamani YES _t-—~ NO
Andrews Padavettiyil YES _i-- NO
Hemant Khuttan YES__&“"NO

Please proceed to Section B.

B. RICO CONSPIRACY CLAIM-—Signal

1. Do you find from a preponderance of the evidence that that two or more persons or
entities, one of whom was Signal, agreed to try to accomplish an unlawful plan to engage
in a pattern of racketeering activity associated with any of the Enterprises for which you
answered "Yes" in response to Question 2 on page 24?

YES i- xo

If you have answered “Yes," please proceed to Question 2. If you have answered
“No," please proceed to the next Defendant on page 29.

2. Do you find from a preponderance of the evidence that Signal agreed to the overall
objective of the conspiracy or agreed with at least one other defendant to commit two
predicate acts as part of the conspiracy?

yes + no

If you have answered "Yes,” please proceed to Question 3. If you have answered
"No," please proceed to the next Defendant on page 29.

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3. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Signal’s RICO conspiracy violation?

Sony Sulekha YES _i-“ NO
Jacob Joseph Kadakkarappally YES_.-“ NO
Palanyandi Thangamani YES_ +“ NO
Andrews Padavettiyil YES "NO
Hemant Khuttan YES a NO

 

Please proceed to the next Defendant on page 29.

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A. RICO GENERAL CLAIM—Malvern C. Burnett ("Burnett")

3. Do you find from a preponderance of the evidence that Burnett was employed by or
associated with any of the Enterprises for which you answered "Yes" in response to
Question 2 on page 24?

af

YES *” NO

If you answered "Yes,” please proceed to Question 4. If you answered "No," please
proceed to Section B on page 31.

4. Do you find from a preponderance of the evidence that Burnett participated, either
directly or indirectly, in the conduct of the affairs of any of the Enterprises for which you
answered "Yes" in response to Question 2 on page 24?

ea

YES NO

If you answered "Yes,” please proceed to Question 5. If you answered "No," please
proceed to Section B on page 31.

5. Do you find from a preponderance of the evidence that Burnett participated through
a pattern of racketeering activity? To answer this question, please answer the following
two subquestions:

5). Predicate Acts

a. Forced Labor
1. Did Burnett commit at least one act of forced labor?
ves “No
2. Did Burnett commit more than one act of forced labor?
vEs_ +“ NO

b. Trafficking For Forced Labor
1. Did Burnett commit at least one act of trafficking for forced

labor?

we

YES NO

2. Did Burnett commit more than one act of trafficking for forced
labor?

be

YES NO

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c. Mail Fraud

1. Did Burnett commit at least one act of mail fraud?
YES NO

2, Did Burnett commit more than one act of mail fraud?

YES NO
d. Wire Fraud

1. Did Burnett commit at least one act of wire fraud?

be

YES _ ~ NO

2, Did Burnett commit more than one act of wire fraud?

YES +" NO
e. Immigration Document Fraud

1. Did Burnett commit at least one act of immigration document
fraud?

YES “NO

2. Did Burnett commit more than one act of immigration document
fraud?

YES _i-- NO

If you have found that Burnett committed at least two of any of the predicate acts
(combining any two of the predicate acts from questions a(2) -e{1)), or if you answered
YES to any of questions a(2)-(e)(2), please proceed to Subquestion 5(ii). If not,
please proceed to Section B on page 31.

501). Predicate Acts Committed as Part of a Pattern

Did the predicate acts committed by Burnett form a pattern by having the same or
similar purposes, results, participants, victims, or methods of commission, or were
otherwise interrelated?

rg

YES __[. 4 NO

Ifyou have answered "Yes,” please proceed to Question 6. If you have answered
"No," please proceed to Section B on page 31.

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6. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Burnett's general RICO violation?

Sony Sulekha YES |; “NO

Jacob Joseph Kadakkarappally YES i“ NO

Palanyandi Thangamani YES _i-” NO
Andrews Padavettiyil YES __ "NO
Hemant Khuttan YES__i- NO

Please proceed to Section B.

B. RICO CONSPIRACY CLAIM—Malvern C. Burnett ("Burnett")

1. Do you find from a preponderance of the evidence that that two or more persons or
entities, one of whom was Burnett, agreed to try to accomplish an unlawful plan to
engage in a pattern of racketeering activity associated with any of the Enterprises for
which you answered "Yes" in response to Question 2 on page 24?

YES "NO

If you have answered “Yes," please proceed to Question 2. If you have answered
“No,” please proceed to the next Defendant on page 33.

2. Do you find from a preponderance of the evidence that Burnett agreed to the overall
objective of the conspiracy or agreed with at least one other defendant to commit two
predicate acts as part of the conspiracy?

YES i” NO

Ifyou have answered "Yes,” please proceed to Question 3. If you have answered
"No," please proceed to the next Defendant on page 33.

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3. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Burnett's RICO conspiracy violation?

Sony Sulekha YES _{---"_ NO
Jacob Joseph Kadakkarappally YES _:i—-- NO

 

 

Palanyandi Thangamani YES _=--- NO
Andrews Padavettiyil YES_*““_NO
Hemant Khuttan YES_i-—“ NO

Please proceed to the next Defendant on page 33.

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A. RICO GENERAL CLAIM—Law Offices of Malvern C. Burnett, APC
("Burnett Law Offices")

3. Do you find from a preponderance of the evidence that Burnett Law Offices was
employed by or associated with any of the Enterprises for which you answered "Yes" in
response to Question 2 on page 24?

YES _j-"_ NO

If you answered "Yes,” please proceed to Question 4. If you answered "No," please
proceed to Section B on page 35.

4. Do you find from a preponderance of the evidence that Burnett Law Offices
participated, either directly or indirectly, in the conduct of the affairs of any of the
Enterprises for which you answered "Yes" in response to Question 2 on page 24?

YES i” NO

 

If you answered "Yes,” please proceed to Question 5. If you answered "No," please
proceed to Section B on page 35.

5. Do you find from a preponderance of the evidence that Burnett Law Offices
participated through a pattern of racketeering activity? To answer this question, please
answer the following two subquestions:

5(i). Predicate Acts

a. Forced Labor

1. Did Burnett Law Offices commit at least one act of forced labor?

YES NO

2, Did Burnett Law Offices commit more than one act of forced
labor?

YES NO
b. Trafficking For Forced Labor

1. Did Burnett Law Offices commit at least one act of trafficking for
forced labor?

Ea
“

YES“ NO

2. Did Burnett Law Offices commit more than one act of trafficking
for forced labor?

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YES _j---" NO

c. Mail Fraud

1. Did Burnett Law Offices commit at least one act of mail fraud?

ra

YES _ NO

2, Did Burnett Law Offices commit more than one act of mail fraud?

 

YES_‘~~_ NO
d. Wire Fraud

1. Did Burnett Law Offices commit at least one act of wire fraud?
YES _1--~ __ NO
2. Did Burnett Law Offices commit more than one act of wire fraud?
YES_'--~_ NO

e. Immigration Document Fraud

1. Did Burnett Law Offices commit at least one act of immigration
document fraud?

YES_; ~” NO

2, Did Burnett Law Offices commit more than one act of
immigration document fraud?

a

YES NO

If you have found that Burnett Law Offices committed at least two of any of the
predicate acts (combining any two of the predicate acts from questions a(1) -e(1)), or if
you answered YES to any of questions a(2)-(e)(2), please proceed to Subquestion
5(ii). If not, please proceed to Section B on page 35.

 

5G0i). Predicate Acts Committed as Part of a Pattern

Did the predicate acts committed by Burnett Law Offices form a pattern by having the
same or similar purposes, results, participants, victims, or methods of commission, or
were otherwise interrelated?

YES. NO

If you have answered "Yes,” please proceed to Question 6. If you have answered
"No," please proceed to Section B on page 35.

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6. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Burnett Law Offices's general RICO violation?

Sony Sulekha YES aa NO
Jacob Joseph Kadakkarappally YES u-"_NO

 

 

Palanyandi Thangamani YES _..~" NO
Andrews Padavettiyil YES +7 NO
Hemant Khuttan YES _‘*_NO

Please proceed to Section B.

B. RICO CONSPIRACY CLAIM—Law Offices of Malvern C. Burnett, APC
("Burnett Law Offices")

1. Do you find from a preponderance of the evidence that that two or more persons or
entities, one of whom was Burnett Law Offices, agreed to try to accomplish an unlawful
plan to engage in a pattern of racketeering activity associated with any of the
Enterprises for which you answered "Yes" in response to Question 2 on page 24?

YES :---"" NO

 

 

If you have answered “Yes," please proceed to Question 2. If you have answered
“No," please proceed to the next Defendant on page 37.

2. Do you find from a preponderance of the evidence that Burnett Law Offices agreed to
the overall objective of the conspiracy or agreed with at least one other defendant to
commit two predicate acts as part of the conspiracy?

YES NO

 

If you have answered “Yes,” please proceed to Question 3. If you have answered
"No," please proceed to Section B on page 37.

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3. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Burnett Law Offices's RICO conspiracy violation?

Sony Sulekha YES i NO
Jacob Joseph Kadakkarappally YES_'"_NO

Palanyandi Thangamani YES i. NO
Andrews Padavettiyil YES __i— NO
Hemant Khuttan YES. NO

 

Please proceed to the next Defendant on page 37.

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A. RICO GENERAL CLAIM—Sachin Dewan ("Dewan")

3. Do you find from a preponderance of the evidence that Dewan was employed by or
associated with any of the Enterprises for which you answered "Yes" in response to
Question 2 on page 24?

YES _.-_NO

 

If you answered "Yes,” please proceed to Question 4. If you answered "No," please
proceed to Section B on page 39.

4. Do you find from a preponderance of the evidence that Dewan participated, either
directly or indirectly, in the conduct of the affairs of any of the Enterprises for which you
answered "Yes" in response to Question 2 on page 24?

YES _* --" NO

 

If you answered "Yes,” please proceed to Question 5. If you answered "No," please
proceed to Section B on page 39.

5. Do you find from a preponderance of the evidence that Dewan participated through a
pattern of racketeering activity? To answer this question, please answer the following
two subquestions:
50). Predicate Acts
a. Forced Labor
1. Did Dewan commit at least one act of forced labor?
YES _j.. ss NO
2. Did Dewan commit more than one act of forced labor?
YES NO
b. Trafficking For Forced Labor

1. Did Dewan commit at least one act of trafficking for forced
labor?

YES ___ NO

2, Did Dewan commit more than one act of trafficking for
forced labor?

-
YES a NO

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c. Mail Fraud
1, Did Dewan commit at least one act of mail fraud?
YES i" NO
2. Did Dewan commit more than one act of mail fraud?
yEs__-- No

d. Wire Fraud
1. Did Dewan commit at least one act of wire fraud?
YES_ [--"_ NO
2. Did Dewan commit more than one act of wire fraud?
YES p." NO

e. Immigration Document Fraud

1. Did Dewan commit at least one act of immigration document
fraud?

YES NO

2. Did Dewan commit more than one act of immigration
document fraud?

YES NO_%

If you have found that Dewan committed at least twe of any of the predicate acts
(combining any two of the predicate acts from questions a(1) -e(1)), or if you answered
YES to any of questions a(2)-(e)(2), please proceed to Subquestion 5(ii). If not,
please proceed to Section B on page 39.

5(ii). Predicate Acts Committed as Part of a Pattern
Did the predicate acts committed by Dewan form a pattern by having the same or

similar purposes, results, participants, victims, or methods of commission, or were
otherwise interrelated?

. ee
YES_|“ NO

If you have answered "Yes,” please proceed to Question 6. If you have answered
"No," please proceed to Section B on page 39.

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6. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Dewan's general RICO violation?

Sony Sulekha YES eT No
Jacob Joseph Kadakkarappally YES 7 NOL
Palanyandi Thangamani YES ONO
Andrews Padavettiyil YES wv NO
Hemant Khuttan YES ONO

Please proceed to Section B.

B. RICO CONSPIRACY CLAIM—Sachin Dewan ("Dewan")

1. Do you find from a preponderance of the evidence that that two or more persons or
entities, one of whom was Dewan, agreed to try to accomplish an unlawful plan to
engage in a pattern of racketeering activity associated with any of the Enterprises for
which you answered "Yes" in response to Question 2 on page 24?

YES NO

If you have answered “Yes," please proceed to Question 2. If you have answered
“No," please proceed to the next Defendant on page 41.

2. Do you find from a preponderance of the evidence that Dewan agreed to the overall
objective of the conspiracy or agreed with at least one other defendant to commit two
predicate acts as part of the conspiracy?

YES “NO

If you have answered "Yes,” please proceed to Question 3. If you have answered
"No," please proceed to Section B on page 41.

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3. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Dewan's RICO conspiracy violation?

Sony Sulekha YES Ww NO
Jacob Joseph Kadakkarappally YES VO NO
Palanyandi Thangamani YES__ NO
Andrews Padavettiyil YES_“~ NO
Hemant Khuttan YES 1 No

Please proceed to the next Defendant on Page 41.

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A. RICO GENERAL CLAIM— Dewan Consultants Pvt. Ltd. (a/k/a Medtech
Consultants) ("Dewan Consultants")

3. Do you find from a preponderance of the evidence that Dewan Consultants was

employed by or associated with any of the Enterprises for which you answered "Yes" in
response to Question 2 on page 24?

YES NO

If you answered "Yes,” please proceed to Question 4. If you answered "No," please
proceed to Section B on page 43.

4. Do you find from a preponderance of the evidence that Dewan Consultants
participated, either directly or indirectly, in the conduct of the affairs of any of the
Enterprises for which you answered "Yes" in response to Question 2 on page 24?
YES_\_NO

If you answered "Yes,” please proceed to Question 5. If you answered "No," please
proceed to Section B on page 43.

5. Do you find from a preponderance of the evidence that Dewan Consultants
participated through a pattern of racketeering activity? To answer this question, please
answer the following two subquestions:
50). Predicate Acts
a. Forced Labor
1. Did Dewan Consultants commit at least one act of forced labor?
YES__j“_ NO

2. Did Dewan Consultants commit more than one act of forced
labor?

YES_ “NO
b. Trafficking For Forced Labor

1. Did Dewan Consultants commit at least one act of trafficking for
forced labor?

YES A NO

2, Did Dewan Consultants commit more than one act of trafficking
for forced labor?

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YES “NO

c. Mail Fraud

1, Did Dewan Consultants commit at least one act of mail fraud?

“No

2. Did Dewan Consultants commit more than one act of mail fraud?

YES

YES +“ NO
d. Wire Fraud

1. Did Dewan Consultants commit at least one act of wire fraud?
YES 4 NO
2, Did Dewan Consultants commit more than one act of wire fraud?

YES_'~_NO
e. Immigration Document Fraud

1. Did Dewan Consultants commit at least one act of immigration
document fraud?

YES NO_ +“

2, Did Dewan Consultants commit more than one act of
immigration document fraud?

YES NO_ -v’

If you have found that Dewan Consultants committed at least two of any of the
predicate acts (combining any two of the predicate acts from questions a(1) -e(1)), or if
you answered YES to any of questions a(2)-(e)(2), please proceed to Subquestion
5(ti). Ifnot, please proceed to Section B on page 43.

5(i). Predicate Acts Committed as Part of a Pattern

Did the predicate acts committed by Dewan Consultants form a pattern by having the
same or similar purposes, results, participants, victims, or methods of commission, or
were otherwise interrelated?

a
YES NO

Ifyou have answered "Yes,” please proceed to Question 6. If you have answered
"No," please proceed to Section B on page 43.

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6. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Dewan Consultants's general RICO violation?

Sony Sulekha YES Vv NO
Jacob Joseph Kadakkarappally YES NO
Palanyandi Thangamani YES_ i NO
Andrews Padavettiyil YES ZNO
Hemant Khuttan YES YNO

Please proceed to Section B.

B. RICO CONSPIRACY CLAIM-—Sachin Dewan and Dewan Consultants Pvt.
Ltd. (a/k/a Medtech Consultants) ("Dewan Consultants")

1. Do you find from a preponderance of the evidence that that two or more persons or
entities, one of whom was Dewan Consultants, agreed to try to accomplish an unlawful
plan to engage in a pattern of racketeering activity associated with any of the
Enterprises for which you answered "Yes" in response to Question 2 on page 24?

YES_+~ NO

If you have answered “Yes," please proceed to Question 2. If you have answered
“No," please proceed to CLAIM FIVE on page 45.

2. Do you find from a preponderance of the evidence that Dewan Consultants agreed to
the overall objective of the conspiracy or agreed with at least one other defendant to
commit two predicate acts as part of the conspiracy?

YES _" NO

If you have answered "Yes,” please proceed to Question 3. If you have answered
"No," please proceed to CLAIM FIVE on page 45.

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3. Do you find from a preponderance of the evidence that any Plaintiff(s) was injured by
Dewan Consultants's RICO conspiracy violation?

 

 

 

Sony Sulekha YES Vv NO
Jacob Joseph Kadakkarappally YES vy." NO
Palanyandi Thangamani YES NO
Andrews Padavettiyil YES “no
Hemant Khuttan YES NO

PLEASE PROCEED TO CLAIM FIVE ON PAGE 45.

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CLAIM FIVE: All Plaintiffs against Signal, Burnett, and Dewan
Fraud—Signal

1. Do you find from a preponderance of the evidence that as a party to a contract(s),
Signal (or with Signal's participation) or Signal's agents committed any of the following
acts: (a) the suggestion, as a fact, of something that is not true, by one who does not
believe it to be true; (b) the active concealment of a fact by one having knowledge or
belief of the fact; (c) a promise made without any intention of performing it; (d) any
other act designed to deceive; or (e) any such act or omission the law specifically
declares to be fraudulent:

 

Sony Sulekha YES t—~ NO
Jacob Joseph Kadakkarappally YES __-“ NO

Palanyandi Thangamani YES i" NO
Andrews Padavettiyil YES No
Hemant Khuttan YES + NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Piaintiff(s), please proceed to the
next Defendant on page 47.

2, Do you find from a preponderance of the evidence that the acts identified above were
committed with intent to deceive any Plaintiff or intent to convince any Plaintiff to enter
into the contract(s)?

i" _NO

Sony Sulekha YES
Jacob Joseph Kadakkarappally YES_ L.-” NO

 

Palanyandi Thangamani YES _i”_NO
Andrews Padavettiyil YES_i-_ NO __
Hemant Khuttan YES _L-- NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 47.

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3. Do you find from a preponderance of the evidence that Plaintiffs relied on the
fraudulent representations made by Signal or its agents?

Sony Sulekha YES _j.-” NO

 

Jacob Joseph Kadakkarappally YES_i- NO

Palanyandi Thangamani YES _i- NO
Andrews Padavettiyil YES _i-~ NO
Hemant Khuttan YES “no

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 47.

4. Do you find from a preponderance of the evidence that Plaintiffs were deceived by the
fraudulent representations made by Signal or its agents?

 

 

Sony Sulekha YES L“_NO
Jacob Joseph Kadakkarappally YES i” _NO
Palanyandi Thangamani YES an NO
Andrews Padavettiyil YES _ «7 NO
Hemant Khuttan YES  .” NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question § for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 47.

5. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the fraudulent representations made by Signal or its agents?

 

Sony Sulekha YES 1 no
Jacob Joseph Kadakkarappally YES ZNO
Palanyandi Thangamani YES as NO,
Andrews Padavettiyil YES a NO_____
Hemant Khuttan YES i“ NO__

Please proceed to the next Defendant on page 47.

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Fraud—Malvern C. Burnett ("Burnett")

1, Do you find from a preponderance of the evidence that as a party to a contract(s),
Burnett (or with Burnett's participation) or Burnett's agents committed any of the
following acts: (a) the suggestion, as a fact, of something that is not true, by one who
does not believe it to be true; (b) the active concealment of a fact by one having
knowledge or belief of the fact; (c) a promise made without any intention of performing
it; (d) any other act designed to deceive; or (e) any such act or omission the law
specifically declares to be fraudulent:

Sony Sulekha YES_# NO

 

Jacob Joseph Kadakkarappally YES _j~-~ NO

Palanyandi Thangamani YES _ i--7 NO
Andrews Padavettiyil YES _ i" NO
Hemant Khuttan YES_|-"NOo

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 49.

2. Do you find from a preponderance of the evidence the acts identified above were
committed with intent to deceive another party or intent to convince another party to
enter into the contract(s)?

 

Sony Sulekha YES -~_NO
Jacob Joseph Kadakkarappally YES i NO

Palanyandi Thangamani YES ee NO_
Andrews Padavettiyil YES iT NO
Hemant Khuttan YES t-—“NO_..

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 49.

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3. Do you find from a preponderance of the evidence that Plaintiffs relied on the
fraudulent representations made by Burnett or his agents?

Sony Sulekha YES No
Jacob Joseph Kadakkarappally YES_*" NO
Palanyandi Thangamani YES pe-"NO
Andrews Padavettiyil YES +" NO
Hemant Khuttan YES _i---" NOW

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 49.

4. Do you find from a preponderance of the evidence that Plaintiffs were deceived by the
fraudulent representations made by Burnett or his agents?

 

Sony Sulekha YES 1" NO
Jacob Joseph Kadakkarappally YES an NO_
Palanyandi Thangamani YES am ENo
Andrews Padavettiyil YES —-s NO
Hemant Khuttan YES “No

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 5 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 49.

5. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the fraudulent representations made by Burnett or his agents?

Sony Sulekha YES ZNO
Jacob Joseph Kadakkarappally YES.“ NO_
Palanyandi Thangamani YES Le NOW
Andrews Padavettiyil YES a NO
Hemant Khuttan YES A NO_

Please proceed to the next Defendant on page 49.

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Fraud—Law Offices of Malvern C. Burnett, APC ("Burnett Law Offices")

1. Do you find from a preponderance of the evidence that as a party to a contract(s),
Burnett Law Offices (or with Burnett Law Offices's participation) or Burnett Law
Offices's agents committed any of the following acts: (a) the suggestion, as a fact, of
something that is not true, by one who does not believe it to be true; (b) the active
concealment of a fact by one having knowledge or belief of the fact; (c) a promise made
without any intention of performing it; (d) any other act designed to deceive; or (e) any
such act or omission the law specifically declares to be fraudulent:

Sony Sulekha YES ~-“_ NO
Jacob Joseph Kadakkarappally YES_i-“ NO
Palanyandi Thangamani YES_/“ NO
Andrews Padavettiyil YES NO __
Hemant Khuttan YES_i-NO_

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 51.

2. Do you find from a preponderance of the evidence that the acts identified above were
committed with intent to deceive any Plaintiff or intent to convince any Plaintiff to enter
into the contract(s)?

Sony Sulekha YES_i~ NO

Jacob Joseph Kadakkarappally YES _,-~ NO

Palanyandi Thangamani YES (1 “_NO
Andrews Padavettiyil YES_i-” NO
Hemant Khuttan YES _L-“ NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 51.

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3. Do you find from a preponderance of the evidence that Plaintiffs relied on the
fraudulent representations made by Burnett Law Offices or its agents?

Sony Sulekha YES LZ NO.
Jacob Joseph Kadakkarappally YES er NOL
Palanyandi Thangamani YES jo“ NO
Andrews Padavettiyil YES §-" NO.
Hemant Khuttan YES _*"No

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 51.

4. Do you find from a preponderance of the evidence that Plaintiffs were deceived by the
fraudulent representations made by Burnett Law Offices or its agents?

 

Sony Sulekha YES ZNO
Jacob Joseph Kadakkarappally YES_i- NO

Palanyandi Thangamani YES an NO.
Andrews Padavettiyil YES_i-~ NO
Hemant Khuttan YES aa NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 5 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 51.

5. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the fraudulent representations made by Burnett Law Offices or its agents?

 

Sony Sulekha YES i NOW
Jacob Joseph Kadakkarappally YES_i- NO
Palanyandi Thangamani YES a NO
Andrews Padavettiyil YES i NO

Hemant Khuttan YES ie NO

Please proceed to the next Defendant on page $1.

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Fraud—Sachin Dewan ("Dewan")

1. Do you find from a preponderance of the evidence that as a party to a contract(s),
Dewan (or with Dewan's participation) or Dewan's agents committed any of the
following acts: (a) the suggestion, as a fact, of something that is not true, by one who
does not believe it to be true; (b) the active concealment of a fact by one having
knowledge or belief of the fact; (c) a promise made without any intention of performing
it; (d) any other act designed to deceive; or (e} any such act or omission the law
specifically declares to be fraudulent:

Sony Sulekha YES i NO
Jacob Joseph Kadakkarappally YES x NO
Palanyandi Thangamani YES +“ NO
Andrews Padavettiyil YES + NO
Hemant Khuitan YES ie NO.

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 53.

2. Do you find from a preponderance of the evidence the acts identified above were
committed with intent to deceive another party or intent to convince another party to
enter into the contract(s)?

Sony Sulekha YES SS NO

Jacob Joseph Kadakkarappally YES _j 4 NO

Palanyandi Thangamani YES _; “~ NO
Andrews Padavettiyil YES i-” NO
Hemant Khuttan YES i“ NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 53.

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3. Do you find from a preponderance of the evidence that Plaintiffs relied on the
fraudulent representations made by Dewan or his agents?

 

Sony Sulekha YES _ji“_NO
Jacob Joseph Kadakkarappally YES te NO
Palanyandi Thangamani YES be NO
Andrews Padavettiyil YES us NO
Hemant Khuttan YES __ NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page §3.

4. Do you find from a preponderance of the evidence that Plaintiffs were deceived by the
fraudulent representations made by Dewan or his agents?

 

 

 

Sony Sulekha YES “NO
Jacob Joseph Kadakkarappally YES NO
Palanyandi Thangamani YES +.” NO
Andrews Padavettiyil YES_«“_NO
Hemant Khuttan YES _i“% c NO

 

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 5 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 53.

5. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the fraudulent representations made by Dewan or his agents?

Sony Sulekha YES i” NO
Jacob Joseph Kadakkarappally YES _i&-—~ NO
Palanyandi Thangamani YES_‘+~_NO
Andrews Padavettiyil YES a NO

a
Hemant Khuttan YES _i-~ NOL

Please proceed to the next Defendant on page §3.

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Fraud— Dewan Consultants Pvt. Ltd. (a/k/a Medtech Consultants) (“Dewan
Consultants”)

1, Do you find from a preponderance of the evidence that as a party to a contract(s),
Dewan Consultants (or with Dewan Consultants's participation) or Dewan Consultants's
agents committed any of the following acts: (a) the suggestion, as a fact, of something
that is not true, by one who does not believe it to be true; (b) the active concealment of a
fact by one having knowledge or belief of the fact; (c) a promise made without any
intention of performing it; (d) any other act designed to deceive; or (e) any such act or
omission the law specifically declares to be fraudulent:

Sony Sulekha YES _-_NO
Jacob Joseph Kadakkarappally YES _t-<_NO

Palanyandi Thangamani YES +" NO
Andrews Padavettiyil YES _|-—“" NO
Hemant Khuttan YES _1-“"NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
CLAIM SIX on page 55.

2. Do you find from a preponderance of the evidence that the acts identified above were
committed with intent to deceive any Plaintiff or intent to convince any Plaintiff to enter
into the contract(s)?

Sony Sulekha YES be NO
Jacob Joseph Kadakkarappally YES ~~“ NO

 

Palanyandi Thangamani YES _(” NO
Andrews Padavettiyil YES _ (i NO
Hemant Khuttan YES_&"_NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
CLAIM SIX on page 55.

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3. Do you find from a preponderance of the evidence that Plaintiffs relied on the
fraudulent representations made by Dewan Consultants or its agents?

Sony Sulekha YES _i-—~ NO
Jacob Joseph Kadakkarappally YES_*<~ NO

Palanyandi Thangamani YES _i-7 NO
Andrews Padavettiyil YES_'_NO
Hemant Khuttan YES _ + NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
CLAIM SIX on page 55.

4. Do you find from a preponderance of the evidence that Plaintiffs were deceived by the
fraudulent representations made by Dewan Consultants or its agents?

Sony Sulekha YES _,-—— NO
Jacob Joseph Kadakkarappally YES _»~--~ NO

 

 

Palanyandi Thangamani YES we” NO
Andrews Padavettiyil YES _4-" NO
Hemant Khuttan YES _i-~_NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 5 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
CLAIM SIX on page 55.

5. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the fraudulent representations made by Dewan Consultants or its agents?

Sony Sulekha YES i” NO.
Jacob Joseph Kadakkarappally YES_~-" NO _
Palanyandi Thangamani YES_*“ NO
Andrews Padavettiyil YES _ +" NO.
Hemant Khuttan YES NO

PLEASE PROCEED TO CLAIM SIX ON PAGE 55.

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CLAIM SIX: All Plaintiffs against Signal, Burnett, and Dewan
Negligent Misrepresentation—Signal

1. Do you find from a preponderance of the evidence that Signal or its agents committed
any of the following acts: (a) made an untrue assertion, believing it to be true, in a
manner not warranted by the information of the person making the assertion; (b)
committed a breach of duty which, without an intent to deceive, allowed the person to
gain an advantage by misleading another person to his disadvantage; or (c) caused,
however innocently, a party to an agreement to make a mistake as to the substance of
the thing which is the subject of the agreement:

Sony Sulekha YES NO
Jacob Joseph Kadakkarappally YES “NO

 

 

 

Palanyandi Thangamani YES _«—_NO
Andrews Padavettiyil YES_'~ NO
Hemant Khuttan YES _1—"NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 56.

2. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the negligent misrepresentations made by Signal or its agents?

Sony Sulekha YES I NO

Jacob Joseph Kadakkarappally YES _,.-“_ NO

 

Palanyandi Thangamani YES _i--~_NO
Andrews Padavettiyil YES _&~ NO
Hemant Khuttan YES _i—“NO

Please proceed to the next Defendant on page 56.

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Negligent Misrepresentation— Malvern C. Burnett ("Burnett")

1. Do you find from a preponderance of the evidence that Burnett or his agents
committed any of the following acts: (a) made an untrue assertion, believing it to be
true, in a manner not warranted by the information of the person making the assertion;
(b) committed a breach of duty which, without an intent to deceive, allowed the person
to gain an advantage by misleading another person to his disadvantage; or (c) caused,
however innocently, a party to an agreement to make a mistake as to the substance of
the thing which is the subject of the agreement:

Sony Sulekha yes_+~ No
Jacob Joseph Kadakkarappally YES_._.“ NO

Palanyandi Thangamani YES _,/” NOW
Andrews Padavettiyil YES _+-"_ NO
Hemant Khuttan YES _ «NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 57.

2. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the negligent misrepresentations made by Burnett or his agents?

Sony Sulekha YES ~~“ NO
Jacob Joseph Kadakkarappally YES _ +-—"NO

Palanyandi Thangamani YES_&-“NO
Andrews Padavettiyil YES _ +" NO
Hemant Khuttan yES_ “NO

Please proceed to the next Defendant on page 57.

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Negligent Misrepresentation—Law Offices of Malvern C. Burnett, APC
("Burnett Law Offices")

1. Do you find from a preponderance of the evidence that Burnett Law Offices or its
agents committed any of the following acts: (a) made an untrue assertion, believing it to
be true, in a manner not warranted by the information of the person making the
assertion; (b) committed a breach of duty which, without an intent to deceive, allowed
the person to gain an advantage by misleading another person to his disadvantage; or
(c) caused, however innocently, a party to an agreement to make a mistake as to the
substance of the thing which is the subject of the agreement:

"NO

Sony Sulekha YES

 

Jacob Joseph Kadakkarappally YES_ .-~"_NO

 

Palanyandi Thangamani YES_*~_NO
Andrews Padavettiyil YES vo NO
Hemant Khuttan YES L.--NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 58.

2, Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the negligent misrepresentations made by Burnett Law Offices or its agents?

 

 

Sony Sulekha YES be NOW
Jacob Joseph Kadakkarappally YES L"_NO

Palanyandi Thangamani YES ae NO
Andrews Padavettiyil YES p- NO
Hemant Khuttan YES "NO

Please proceed to the next Defendant on page 58.

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Negligent Misrepresentation—Sachin Dewan ("Dewan")

1. Do you find from a preponderance of the evidence that Dewan or his agents
committed any of the following acts: (a) made an untrue assertion, believing it to be
true, in a manner not warranted by the information of the person making the assertion;
(b) committed a breach of duty which, without an intent to deceive, allowed the person
to gain an advantage by misleading another person to his disadvantage; or (c) caused,
however innocently, a party to an agreement to make a mistake as to the substance of
the thing which is the subject of the agreement:

 

 

 

Sony Sulekha YES i _NO
Jacob Joseph Kadakkarappally YES a NO
Palanyandi Thangamani YES NO
Andrews Padavettiyil YES _ i" NO.
Hemant Khuttan YES_i- NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 59.

2. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the negligent misrepresentations made by Dewan or his agents?

i
Sony Sulekha YES Le NO

Jacob Joseph Kadakkarappally YES _. 7 _NO

 

Palanyandi Thangamani YES_.“ NO

Andrews Padavettiyil YES__L--” NO
7

Hemant Khuttan YES t" NO

Please proceed to the next Defendant on page 59.

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Negligent Misrepresentation—Dewan Consultants Pvt. Ltd. (a/k/a Medtech
Consultants) (“Dewan Consultants”)

1. Do you find from a preponderance of the evidence that Dewan Consultants or its
agents committed any of the following acts: (a) made an untrue assertion, believing it to
be true, in a manner not warranted by the information of the person making the
assertion; (b) committed a breach of duty which, without an intent to deceive, allowed
the person to gain an advantage by misleading another person to his disadvantage; or
(c) caused, however innocently, a party to an agreement to make a mistake as to the
substance of the thing which is the subject of the agreement:

Sony Sulekha YES ~~ NOU
Jacob Joseph Kadakkarappally YES No
Palanyandi Thangamani YES aa NO_
Andrews Padavettiyil YES_;~" NO
Hemant Khuttan YES i" NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
CLAIM SEVEN on page 60.

2. Do you find from a preponderance of the evidence that Plaintiffs were damaged as a
result of the negligent misrepresentations made by Dewan Consultants or its agents?

Sony Sulekha YES i” NO

 

7

Jacob Joseph Kadakkarappally YES _«~ NO

 

 

 

Palanyandi Thangamani YES _b-” “ i” NO
Andrews Padavettiyil YES _i--—-"NO
Hemant Khuttan YES_ “NO

 

PLEASE PROCEED TO CLAIM SEVEN ON PAGE 60.

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CLAIM SEVEN: All Plaintiffs against Signal, Burnett, and Dewan
Breach of Contract or Promissory Estoppel—Signal
A. Breach of Contract

1. Do you find from a preponderance of the evidence that one or more Plaintiffs entered
into a valid and binding contract, either orally or written, with agents of Signal?

Sony Sulekha YES _i-“"_NO

Jacob Joseph Kadakkarappally YES «-~ NO

 

Palanyandi Thangamani YES _--~ NO
Andrews Padavettiyil YES__*~"_NO
Hemant Khuttan YES “NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that agents of Signal breached a
contract with any of the Plaintiffs?

 

 

 

Sony Sulekha YES a NO
Jacob Joseph Kadakkarappally YES_.-“ NO
Palanyandi Thangamani YES _7_NO
Andrews Padavettiyil YES = NO
Hemant Khuttan YES NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

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3. Do you find from a preponderance of the evidence that Plaintiffs lost money as a
result of the breached contract?

 

 

 

Sony Sulekha YES _u-“ NO
Jacob Joseph Kadakkarappally YES_~—”NO
Palanyandi Thangamani YES_*7 NO.
Andrews Padavettiyil YES_t-—" NO
Hemant Khuttan YES _& "No

 

If you have answered “Yes" for any Plaintiff(s), please proceed to the next Defendant
on page 63 for that Plaintiff(s). If you have answered “No" for any Plaintiff(s),
please proceed to Section B for that Plaintiffts).

B. Promissory Estoppel

1. Do you find from a preponderance of the evidence that agents of Signal made
promises to Plaintiffs?

 

 

 

 

 

 

Sony Sulekha YES NO
Jacob Joseph Kadakkarappally YES NO
Palanyandi Thangamani YES NO
Andrews Padavettiyil YES NO__
Hemant Khuttan YES NO

 

If you have answered “Yes" for any Plaintiff(s}), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 63 for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that Plaintiffs made payments and
incurred expenses in reliance on those promises?

 

 

 

 

Sony Sulekha YES NO_
Jacob Joseph Kadakkarappally YES NO_
Palanyandi Thangamani YES NO__
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

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If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “Ne" for any Plaintiff(s), please proceed to the
next Defendant on page 63 for that Plaintiff(s).

3. Do you find from a preponderance of the evidence that the promises on which
Plaintiffs relied were broken?

 

 

 

 

 

 

 

Sony Sulekha YES NO
Jacob Joseph Kadakkarappally YES NO
Palanyandi Thangamani YES NO
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 63 for that Plaintiff(s).

4. Do you find from a preponderance of the evidence that in good conscience and
justice, the money paid by Plaintiffs in relying on the promises should be returned to
Piaintiffs?

 

 

 

 

 

Sony Sulekha YES NO
Jacob Joseph Kadakkarappally YES NO
Palanyandi Thangamani YES NO

Andrews Padavettiyil YES NO_
Hemant Khuttan YES NO__

 

Please proceed to the next Defendant on page 63.

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Breach of Contract or Promissory Estoppel—Malvern C. Burnett
("Burnett")

A. Breach of Contract

1. Do you find from a preponderance of the evidence that one or more Plaintiffs entered
into a valid and binding contract, either orally or written, with Burnett or his agents?

Sony Sulekha YES “a NO

 

 

Jacob Joseph Kadakkarappally YES _4~ "NO

Palanyandi Thangamani YES _&-—" NO
Andrews Padavettiyil YES_L-” NO
Hemant Khuttan YES__-—"NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that Burnett or his agents
breached a contract with any of the Plaintiffs?

 

“Te
Sony Sulekha YES LX _NO_i—
aK .
Jacob Joseph Kadakkarappally YES ix” NO |’
Palanyandi Thangamani YES _i-"_NO
Andrews Padavettiyil YES _'-" NO
Hemant Khuttan YES _+-———NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

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3. Do you find from a preponderance of the evidence that Plaintiffs lost money as a
result of the breached contract?

 

Sony Sulekha YES NO ye”
Jacob Joseph Kadakkarappally YES = NO_&-~_
Palanyandi Thangamani YES_ + NOW
Andrews Padavettiyil yES_' NO
Hemant Khuttan YES a NO

 

 

If you have answered “Yes" for any Plaintiff(s), please proceed to the next Defendant
on page 66 for that Plaintiff(s). If you have answered “No" for any Plaintiff(s),
please proceed to Section B for that Plaintiff(s).

B. Promissory Estoppel

1. Do you find from a preponderance of the evidence that Burnett or his agents made
promises to Plaintiffs?

Sony Sulekha YES _+“"_NO
Jacob Joseph Kadakkarappally YES_ i—~“NO

 

 

 

Palanyandi Thangamani YES NO
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 66for that Plaintiff(s).

2, Do you find from a preponderance of the evidence that Plaintiffs made payments and
incurred expenses in reliance on those promises?

 

 

Sony Sulekha YES Z NOL
Jacob Joseph Kadakkarappally YES_i“ NO
Palanyandi Thangamani YES NO_
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

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If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 66for that Plaintiff(s).

3. Do you find from a preponderance of the evidence that the promises on which
Plaintiffs relied were broken?

Sony Sulekha YES _L-_NO

Jacob Joseph Kadakkarappally YES NO

 

 

 

Palanyandi Thangamani YES NO
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 66for that Plaintiff(s).

4. Do you find from a preponderance of the evidence that in good conscience and
justice, the money paid by Plaintiffs in relying on the promises should be returned to
Plaintiffs?

 

 

Sony Sulekha YES eo NOL
Jacob Joseph Kadakkarappally YES ee NO
Palanyandi Thangamani YES NO_
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

 

Please proceed to the next Defendant on page 66.

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Breach of Contract or Promissory Estoppel—Law Offices of Malvern C.
Burnett, APC ("Burnett Law Offices")

A. Breach of Contract
1. Do you find from a preponderance of the evidence that one or more Plaintiffs entered
into a valid and binding contract, either orally or written, with Burnett Law Offices or its

agents?

Sony Sulekha YES _t"_NO

 

Jacob Joseph Kadakkarappally YES _,; 7- NO

 

Palanyandi Thangamani YES _t- NO
Andrews Padavettiyil YES_*~_NO
Hemant Khuttan YES_&"_ NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that Burnett Law Offices or its
agents breached a contract with any of the Plaintiffs?

 

 

 

 

Sony Sulekha YES NO_e7
Jacob Joseph Kadakkarappally YES NO_tb
Palanyandi Thangamani YES “NO
Andrews Padavettiyil YES _“~_NO

Hemant Khuttan YES i NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

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3. Do you find from a preponderance of the evidence that Plaintiffs lost money as a
result of the breached contract?

Sony Sulekha YESS NOL
Jacob Joseph Kadakkarappally YES NO L—_
Palanyandi Thangamani YES t-7 NO_
Andrews Padavettiyil YES _L-NO_
Hemant Khuttan YES L-“NO____

If you have answered “Yes" for any Plaintiff(s), please proceed to the next Defendant
on page 69 for that Plaintiff(s). If you have answered “No" for any Plaintiff(s),
please proceed to Section B for that Plaintiff(s).

B. Promissory Estoppel

1. Do you find from a preponderance of the evidence that Burnett Law Offices or its
agents made promises to Plaintiffs?

Sony Sulekha YES +" NO

Jacob Joseph Kadakkarappally YES_*~ NO

 

 

 

 

Palanyandi Thangamani YES NO
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

 

if you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 69 for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that Plaintiffs made payments and
incurred expenses in reliance on those promises?

Sony Sulekha YES _t-—~ NO
Jacob Joseph Kadakkarappally YES_-~ NO

 

 

 

Palanyandi Thangamani YES NO
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

 

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If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 69 for that Plaintiff(s).

3. Do you find from a preponderance of the evidence that the promises on which
Plaintiffs relied were broken?

Sony Sulekha YES_ NO
Jacob Joseph Kadakkarappally YES L~_NO

 

 

 

Palanyandi Thangamani YES NO
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 69 for that Plaintiff(s}.

4. Do you find from a preponderance of the evidence that in good conscience and
justice, the money paid by Plaintiffs in relying on the promises should be returned to
Plaintiffs?

Sony Sulekha YES_«~" NO

Jacob Joseph Kadakkarappally YES Aa NO

 

 

Palanyandi Thangamani YES NO
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

 

Please proceed to the next Defendant on page 69.

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Breach of Contract or Promissory Estoppel—Sachin Dewan ("Dewan")
A. Breach of Contract

1. Do you find from a preponderance of the evidence that one or more Plaintiffs entered
into a valid and binding contract, either orally or written, with Dewan or his agents?

Sony Sulekha YES ~~ NO
Jacob Joseph Kadakkarappally YES _l~~ NO

Palanyandi Thangamani yeES_&-_NOo
Andrews Padavettiyil vES_'_No
Hemant Khuttan YES No

 

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that Dewan or his agents breached.
a contract with any of the Plaintiffs?

 

Sony Sulekha YES. —NO_

Jacob Joseph Kadakkarappally YES NO
Palanyandi Thangamani YES" tk“NO ie
Andrews Padavettiyil YES HAT No ale
Hemant Khuttan ves fC No J ie

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

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3. Do you find from a preponderance of the evidence that Plaintiffs lost money as a
result of the breached contract?

 

 

 

 

Sony Sulekha YES NO
Jacob Joseph Kadakkarappally YES NO_
Palanyandi Thangamani YES NO.
Andrews Padavettiyil YES NO
Hemant Khuttan YES NO

 

 

If you have answered “Yes" for any Plaintiff(s), please proceed to the next Defendant
on page 72 for that Plaintiff(s). If you have answered “No" for any Plaintiff(s),
please proceed to Section B for that Plaintiff(s).

B. Promissory Estoppel

1. Do you find from a preponderance of the evidence that Dewan or his agents made
promises to Plaintiffs?

 

Sony Sulekha YES_+ NO
Jacob Joseph Kadakkarappally YES_)~ NO
Palanyandi Thangamani YES_|-"_NO_
Andrews Padavettiyil yEs_|~_No

Hemant Khuttan

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 72 for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that Plaintiffs made payments and
incurred expenses in reliance on those promises?

 

 

Sony Sulekha YES VA VY NO
Jacob Joseph Kadakkarappally YES L“ NO
Palanyandi Thangamani yES_ i —__NO____
Andrews Padavettiyil YES a _NO
Hemant Khuttan YES a NO

 

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If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 72 for that Plaintiff(s).

3. Do you find from a preponderance of the evidence that the promises on which
Plaintiffs relied were broken?

Sony Sulekha YES i NO
Jacob Joseph Kadakkarappally YES_!—~ NO

Palanyandi Thangamani YES _ Le NO
Andrews Padavettiyil YES i" NO
Hemant Khuttan YES _4-~ NO

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to the
next Defendant on page 72 for that Plaintiff(s).

4. Do you find from a preponderance of the evidence that in good conscience and
justice, the money paid by Plaintiffs in relying on the promises should be returned to
Plaintiffs?

 

Sony Sulekha YES _{£.-~ NO
Jacob Joseph Kadakkarappally YES_u~ NO

Palanyandi Thangamani YES _u&"_NO
Andrews Padavettiyil YES_‘” NO
Hemant Khuttan YES__&“ NO

Please proceed to the next Defendant on page 72.

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Breach of Contract or Promissory Estoppel—Dewan Consultants Pvt. Ltd.
(a/k/a Medtech Consultants) ("Dewan Consultants")

A. Breach of Contract
1. Do you find from a preponderance of the evidence that one or more Plaintiffs entered

into a valid and binding contract, either orally or written, with Dewan Consultants or its
agents?

Sony Sulekha YES i-" NO
Jacob Joseph Kadakkarappally YES _b- “no
Palanyandi Thangamani YES et NO__
Andrews Padavettiyil YES _~“" NO
Hemant Khuttan YES _ 4 NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiffs). If you have answered “No” for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that Dewan Consultants or its
agents breached a contract with any of the Plaintiffs?

Sony Sulekha YES NO_ je
Jacob Joseph Kadakkarappally YES NO i.
Palanyandi Thangamani YES. NO_
Andrews Padavettiyil YES_—SONO_L-
Hemant Khuttan YES No eT

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
Section B for that Plaintiff(s).

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3. Do you find from a preponderance of the evidence that Plaintiffs lost money as a
result of the breached contract?

 

 

 

 

Sony Sulekha YES NO
Jacob Joseph Kadakkarappally YES NO__
Palanyandi Thangamani YES NO__
Andrews Padavettiyil YES NOW
Hemant Khuttan YES NO

 

If you have answered “Yes" for any Plaintiff(s), please proceed to CLAIM EIGHT on
page 75 for that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please
proceed to Section B for that Plaintiff(s).

B. Promissory Estoppel

1. Do you find from a preponderance of the evidence that Dewan Consultants or its
agents made promises to Plaintiffs?

Sony Sulekha YES Vv NO
Jacob Joseph Kadakkarappally YES_'-~ NO
Palanyandi Thangamani YES 7 No
Andrews Padavettiyil YES_' NO
Hemant Khuttan YES ,--NO_

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 2 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
CLAIM EIGHT on page 75 for that Plaintiff(s).

2. Do you find from a preponderance of the evidence that Plaintiffs made payments and
incurred expenses in reliance on those promises?

Sony Sulekha YES _[--— NO

Jacob Joseph Kadakkarappally YES NO

 

Palanyandi Thangamani YES _i-~ NO
Andrews Padavettiyil YES _‘~ NO
Hemant Khuttan YES a NO

 

 
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If you have answered “Yes" for any Plaintiff(s), please proceed to Question 3 for
that Plaintiff(s). If you have answered “No" for any Plaintiffs), please proceed to
CLAIM EIGHT on page 75 for that Plaintiff(s).

3. Do you find from a preponderance of the evidence that the promises on which
Plaintiffs relied were broken?

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Sony Sulekha YES NO
Jacob Joseph Kadakkarappally YES “NO
Palanyandi Thangamani YES — NO
eo
Andrews Padavettiyil YES NO
Hemant Khuttan YES_“~ _NO

 

 

If you have answered “Yes" for any Plaintiff(s), please proceed to Question 4 for
that Plaintiff(s). If you have answered “No" for any Plaintiff(s), please proceed to
CLAIM EIGHT on page 75 for that Plaintiff(s).

4. Do you find from a preponderance of the evidence that in good conscience and
justice, the money paid by Plaintiffs in relying on the promises should be returned to
Plaintiffs?

Sony Sulekha YES __&<"~_NO

Jacob Joseph Kadakkarappally YES 1--~ NO

 

Palanyandi Thangamani YES i NO
Andrews Padavettiyil YES + NO
Hemant Khuttan YES “No

PLEASE PROCEED TO CLAIM EIGHT ON PAGE 75.

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CLAIM EIGHT: Plaintiff Jacob Joseph Kadakkarappally ("Mr. Jacob")
against Signal

False Imprisonment

1. Do you find from a preponderance of the evidence that on March 9, 2007, Signal or
its hired guards held or detained Mr. Jacob?

YES_+“_NO

If you have answered “Yes," please proceed to Question 2. If you have answered
“No," please proceed to CLAIM NINE on page 76.

2. Do you find from a preponderance of the evidence that Mr. Jacob's holding or
detention was unlawful?

YES __}-No

If you have answered “Yes," please proceed to Question 3. If you have answered
“No,” please proceed to CLAIM NINE on page 76.

3. Do you find from a preponderance of the evidence that Mr. Jacob was damaged as a
result of his unlawful holding or detention?
YES__*"_NO

Please proceed to CLAIM NINE on page 76.

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CLAIM NINE: Plaintiff Jacob Joseph Kadakkarappally ("Mr. Jacob")
against Signal

Intentional Infliction of Emotional Distress

1. Do you find from a preponderance of the evidence that on March 9, 2007, Signal or its
hired guards confined Mr. Jacob to a trailer, under guard, for several hours?

YES} NO

If you have answered “Yes," please proceed to Question 2. If you have answered
“No,” please proceed to the CROSSCLAIMS SECTION on page 78.

2. Do you find from a preponderance of the evidence that the conduct of Signal or its
hired guards was outrageous?

YES +" NO

If you have answered “Yes," please proceed to Question 3. If you have answered
“No," please proceed to the CROSSCLAIMS SECTION on page 78.

3. Do you find from a preponderance of the evidence that Signal or its hired guards
intended to cause Mr. Jacob emotional distress or acted with reckless disregard of the
probability that Mr. Jacob would suffer emotional distress?

YES‘ NO

 

 

If you have answered “Yes," please proceed to Question 4. If you have answered
“No," please proceed to the CROSSCLAIMS SECTION on page 78.

4. Do you find from a preponderance of the evidence that Mr. Jacob suffered emotional
distress?

YES _t--"NO

If you have answered “Yes," please proceed to Question 5. If you have answered
“No,” please proceed to the CROSSCLAIMS SECTION on page 78.

5. Do you find from a preponderance of the evidence that the conduct of Signal or its
hired guards was a substantial factor in causing Mr. Jacob's emotional distress?

YES_«"_NO

If you have answered “Yes," please proceed to Question 6. If you have answered
“No,” please proceed to the CROSSCLAIMS SECTION on page 78.

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6. Do you find from a preponderance of the evidence that it was foreseeable that the
conduct of Signal or its hired guards would cause Mr. Jacob emotional distress?
YES_+~_NO

PLEASE PROCEED TO THE CROSSCLAIMS SECTION ON PAGE 78.

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CROSSCLAIMS

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CROSSCLAIM ONE: Signal against Burnett and Dewan
Indemnity—All Defendants

1. Do you find by a preponderance of the evidence that Signal owes a legal obligation to
Plaintiffs in the main action?

YES_*"__NO

 

If you have answered “Yes," please proceed to Question 2. If you have answered
“No," please sign and date this Jury Verdict Form on page 83.

2. Do you find by a preponderance of the evidence that Signal was not at fault in
incurring the legal obligation to Plaintiffs?

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YES NO

 

If you have answered “Yes," please proceed to the Defendant-specific questions
beginning on page 8o. If you have answered “No," please sign and date this Jury
Verdict Form on page 83.

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Indemnity—Malvern C. Burnett ("Burnett")

3. Do you find by a preponderance of the evidence that in all fairness, Burnett should
indemnify Signal for the legal obligation owed to Plaintiffs?

YES NO

 

Please proceed to the next Defendant on page 81.

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Indemnity—Law Offices of Malvern C. Burnett, APC ("Burnett Law Offices")

3. Do you find by a preponderance of the evidence that in all fairness, Burnett Law
Offices should indemnify Signal for the legal obligation owed to Plaintiffs?

YES NO

 

Please proceed to the next Defendant on page 82.

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Indemnity—Sachin Dewan ("Dewan")

3. Do you find by a preponderance of the evidence that in all fairness, Dewan should
indemnify Signal for the legal obligation owed to Plaintiffs?

YES NO

 

Please proceed to the next Defendant on page 82.

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e .

Indemnity—Dewan Consultants Pvt. Ltd. (a/k/a Medtech Consultants)
("Dewan Consultants")

3. Do you find by a preponderance of the evidence that in all fairness, Dewan
Consultants should indemnify Signal for the legal obligation owed to Plaintiffs?

YES NO

 

Please sign and date this Jury Verdict Form.

oR
New Orleans, Louisiana this __/ oe day of February, 2015.

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J ury Foreperson

    

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